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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

NASEEM S. STANAZAI,
                      Plaintiff,
                 v.                         Civil Action No. 17-2653 (RDM)
BROADCASTING BOARD OF
GOVERNORS,
                      Defendant.




         MEMORANDUM OF POINTS AND AUTHORITIES
IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT




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                                      INTRODUCTION

       As construed by the Court, Plaintiff Naseem Stanazai’s complaint alleges that the

Broadcasting Board of Governors (“BBG”) retaliated against him on account of his prior protected

activity when it did not select him to be a “senior editor” during an October 2016 restructuring of

the Voice of America’s Afghan Service. Any such claim fails, however, because there was no open

positions and no selection process associated with the senior editor roles. The individuals described

in an email as assuming the role of “senior editor” following the restructuring held the same

positions and performed the same duties as they had prior to the restructuring. For this same reason,

the BBG had a nonretaliatory basis for not selecting Stanazai as a “senior editor.” Stanazai cannot

meet his burden to show that the real reason for his nonselection is retaliation and, in fact, has

failed to articulate such a belief in discovery when asked. For these reasons, the BBG should be

granted summary judgment.

                                       BACKGROUND

       A.      Factual Background

       The BBG (now called United States Agency for Global Media) is an independent federal

agency that oversees all nonmilitary international broadcasting funded by the United States. SOF

¶ 1. One of its networks is Voice of America, an international broadcasting service providing news

and information in forty-five languages to a weekly audience of 236.8 million people around the

world. SOF ¶ 2. At all relevant times, Stanazai was a GS-12 International Broadcaster with Voice

of America serving the Afghan Service in the South and Central Asia Division. SOF ¶ 3. The

Afghan Service broadcasts radio and television content and publishes digital content in the Dari

and Pashto languages. SOF ¶ 4.

       From April 5, 2015, until his recent death in August 2019, Akbar Ayazi was the Director of

the South and Central Asia Division. SOF ¶ 5. For approximately six months in 2016, Ayazi also
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served as the acting Chief of the Afghan Service. SOF ¶ 5. At the time that Ayazi became acting

Chief, the Afghan Service was divided into four groups: (1) Dari radio, (2) Pashto radio, (3) Dari

and Pashto television, and (4) digital. SOF ¶ 6. Each of the four groups was led by a GS-13

employee referred to as either a “managing editor” or a “supervisory international broadcaster.”

SOF ¶ 6.

       Shortly after becoming acting Chief of the Afghan Service, Ayazi proposed to reassign

management responsibilities in the service to streamline workflow and improve the quality of the

broadcast. SOF ¶ 7. In particular, he reconfigured the three radio and television groups into two

groups organized by language. Thus, Dari radio, Pashto radio, and Dari and Pashto television

became Dari radio and television and Pashto radio and television. SOF ¶ 8. Ayazi reassigned

certain GS-13 employees in the Afghan Service to fit this new arrangement. He reassigned Lina

Rozbih—who had previously been the GS-13 managing editor of the Dari and Pashto television

service—to be the GS-13 managing editor of the Dari radio and television service. SOF ¶ 9. Ayazi

also reassigned Shaista Sadat Lami to be the GG-13 managing editor of the Pastho radio and

television service. SOF ¶ 10. Lami had previously been a GG-13 international broadcaster for

Pashto television. SOF ¶ 10.

       Ayazi also asked broadcasters Ahmad Sear Zia and Hafiz Assefi to serve as “senior editors”

of the Dari team and for Roshan Noorzai and Hasib Alikozai to serve as “senior editors” of the

Pashto team. SOF ¶ 11. Prior to the restructuring, these four individuals had served as “team

leaders” for their respective teams within the Afghan Service. SOF ¶ 14. As team leaders, they

were responsible for duties such as assisting with the assignment of tasks, finding news stories for

broadcast, and copy editing. SOF ¶ 14. Following the restructuring, the four individuals continued

to perform these same duties for the new teams organized by language rather than broadcast




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medium. SOF ¶ 14. They did not receive grade increases or any other form of promotion as a result

of the restructuring. SOF ¶ 13.

       B.      Procedural Background

       Stanazai initiated contact with an Equal Employment Opportunity (“EEO”) counselor on

November 1, 2016, and filed a formal complaint of discrimination with the BBG’s Office of Civil

Rights on February 14, 2017. ECF No. 15-6 at 6; ECF No. 15-7 at 1. Stanazai’s formal complaint

claimed that he was “not considered for any of the positions” in the October 2016 restructuring

(but specifically mentioned only the GS-13 managing editor positions in Dari radio and television

and Pashto radio and television) due to discrimination against his age, national origin (Afghan),

and in reprisal for his prior protected activity. ECF No. 15-7 at 2–3. On December 11, 2017,

without having received a final decision by the BBG, Stanazai filed this case. Compl., ECF No. 1.

       As the Court is aware, this is not Stanazai’s first lawsuit against the BBG. In 2014, he

joined four other plaintiffs to sue the BBG for alleged discrimination and retaliation. See Achagzai

v. Broad. Bd. of Governors, No. 14-0768 (D.D.C. filed May 5, 2014). This Court dismissed all of

the plaintiffs in that case except Stanazai for failure to exhaust. Achagzai v. Broad. Bd. of

Governors, 170 F. Supp. 3d 164, 174–79 (D.D.C. 2016). The Court dismissed several of Stanazai’s

claims for failure to exhaust as well because “the majority of the alleged events described in [his

formal complaint of discrimination] occurred well before . . . the 45-day cutoff.” Id. at 179–80.

The Court did, however, allow two of Stanazai’s exhausted claims to proceed to discovery: one

alleging that his supervisor sent him an angry email after Stanazai failed to timely complete an

assignment, and another alleging that his supervisor changed his work schedule in a way that

allegedly promoted inferior staff to supervisory roles. Id. at 180.




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       The BBG eventually sought and was granted summary judgment on those claims. The

Court held that the angry email was not a cognizable adverse action because, “although given

ample opportunity to take discovery, Stanazai has failed to identify any evidence that would permit

a reasonable jury to find that the email ‘result[ed] in a tangible consequence, such as a demotion,

loss of a bonus, or missed opportunity for advancement.’ Achagzai v. Broad Bd. of Governors, 308

F. Supp. 3d 396, 405 (D.D.C. 2018) (quoting Achagzai, 170 F. Supp. 3d at 181) (emphasis in

original). As to Stanazai’s claim about the schedule, the Court held that the disputed schedule did

not in fact reduce his responsibilities and did not prevent him from obtaining a promotion to

managing editor in December 2016. Id. at 406–11.

       Meanwhile, in this case, the BBG responded to Stanazai’s complaint by moving for

summary judgment, arguing that Stanzai could not make out a prima facie case of discrimination

or retaliation in connection with his nonselection for a managing editor position in the October

2016 reconfiguration of the Afghan Service because the BBG did not create any new positions as

part of that reconfiguration and Stanazai, as a GS-12, was not eligible to be placed in a GS-13

position, and that Stanazai had failed to exhaust any of the other alleged adverse actions mentioned

in his complaint. See ECF No. 15-1. The Court largely granted the BBG’s motion. See Stanazai v.

Broad. Bd. of Governors, No. 17-2653, 2019 WL 1046296 (D.D.C. Mar. 5, 2019). The Court

concluded that (1) Stanazai’s hostile work environment and discrimination claims based on the

BBG’s alleged “New Format” were barred by res judicata, id. at *4–5; (2) Stanazai failed to

exhaust any claims not arising out of Ayzai’s October 2016 reorganization of the Afghan Service,

id. at *5 and (3) Stanazai failed to demonstrate a prima facie claim of discrimination or retaliation

as to his nonselection to the managing editor positions, id. at *6.




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       The Court declined to grant the BBG summary judgment in full, however, because it

“construe[d] Stanazai’s complaint as also raising a retaliation claim for being passed over for a

senior editor position” because Stanazai’s complaint referred to “several management positions”.

Stanazai, 2019 WL 1046296 at *7. Accordingly, the Court granted summary judgment to the BBG

except as to the construed “retaliation claim for non-selection as a senior editor.” Id.

       Following discovery, Defendant moved for reconsideration, or, in the alternative, for

summary judgment, arguing primarily that Stanazai had indicated during discovery that he did not

intend to bring a retaliation claim related to the senior editor position. ECF No. 31. The Court

denied the motion, concluding that Stanazai’s deposition testimony and other discovery responses

were not sufficient to establish an abandonment of any claim about the senior editor positions.

Mem. Op. at 3–14 (Oct. 16, 2020), ECF No. 35. The Court also concluded that Defendant had not

adequately met its burden of showing that Stanazai could not demonstrate the requisite causal

connection between any denial of a senior editor position and retaliation. Id. at 14–16. The parties

jointly proposed a schedule for Defendant to renew its motion for summary judgment, which the

Court adopted and later extended. Pursuant thereto, Defendant respectfully moves for summary

judgment on any claim Stanazai may have brought about the senior editor assignments.

                                          STANDARD

       Summary judgment is appropriate when the pleadings and evidence demonstrate that there

is “no genuine issue as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A fact is “material” if it could change the outcome of the litigation.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 243 (1986); see also Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986) (“[A] complete failure of proof concerning an essential element of the

nonmoving party’s case necessarily renders all other facts immaterial, and the moving party is

entitled to judgment as a matter of law.”) (citations, quotation marks, and alteration marks omitted).


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And there is a “genuine issue” if the evidence is “such that a reasonable jury could return a verdict

for the nonmoving party.” Holcomb v. Powell, 433 F.3d 889, 895 (D.C. Cir. 2006) (citation and

quotation marks omitted).

       The moving party bears the initial burden of demonstrating the absence of any genuine

issue of material fact. Celotex, 477 U.S. at 323. Once it meets that burden, the non-moving party

can defeat summary judgment only by identifying “specific facts showing that there is a genuine

issue for trial.” Id. at 324. To do that, the non-moving party “may not rest on the mere allegation

or denials of his pleading but must present affirmative evidence showing a genuine issue for trial,”

Laningham v. U.S. Navy, 813 F.2d 1236, 1241 (D.C. Cir. 1987), and such showing must involve

more than “[t]he mere existence of a scintilla of evidence” in support of his claim, Liberty Lobby,

477 U.S. at 252.

                                          ARGUMENT

I.     Stanazai cannot make out a prima facie case of retaliation regarding the “senior
       editor” assignments.

       Stanazai cannot make out a prima facie case of retaliation regarding the “senior editor”

assignments mentioned in Ayazi’s October 7, 2016, email because there were never any open

position for Stanazai to fill. Title VII of the Civil Rights Act of 1964 makes it “an unlawful

employment practice for an employer to fail or refuse to hire . . . any individual . . . because of

such individual’s . . . national origin.” 42 U.S.C. § 2000e-2(a). Title VII also makes it “an unlawful

employment practice for an employer to discriminate against any . . . applicant[ ] for employment

. . . because he has made a charge, testified, assisted, or participated in any manner in an

investigation, proceeding, or hearing” concerning employment discrimination. 42 U.S.C. § 2000e-

3(a). Similarly, the Age Discrimination in Employment Act (“ADEA”) makes it unlawful for an

employer to take an adverse action against an employee “because of such individual’s age,” 29



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U.S.C. § 623(a), or because such individual “has opposed any practice made unlawful by [§ 623],”

id. § 623(d).

       Stanazai has not alleged, nor can he show, any direct evidence of discrimination or

retaliation prohibited by Title VII or the ADEA. Consequently, his claims must be analyzed under

framework established in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802–05 (1973). Under

that framework, “the plaintiff must [first] establish a prima facie case of discrimination.” Reeves

v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 142 (2000). The plaintiff can satisfy his initial

burden in a nonselection case by showing “(i) that he belongs to a racial minority; (ii) that he

applied and was qualified for a job for which the employer was seeking applicants; (iii) that,

despite his qualifications, he was rejected; and (iv) that, after his rejection, the position remained

open and the employer continued to seek applicants from persons of complainant’s qualifications.”

McDonnell Douglas, 411 U.S. at 802. Though the McDonnell Douglas developed in the context

of Title VII discrimination, it also applies to age-discrimination claims under the ADEA, see Hall

v. Giant Food, Inc., 175 F.3d 1074, 1077 (D.C. Cir. 1999), and to retaliation claims, see Mitchell

v. Baldrige, 759 F.2d 80, 86 (D.C. Cir. 1985). In the retaliation context, however, a plaintiff “must

show: 1) that [he] engaged in a statutorily protected activity; 2) that the employer took an adverse

personnel action; and 3) that a causal connection existed between the two.” Mitchell, 759 F.2d at

86 (internal quotation marks omitted).

       As the Supreme Court has explained, the McDonnell Douglas framework “demand[s] that

the alleged discriminatee demonstrate at least that his rejection did not result from the two most

common legitimate reasons on which an employer might rely to reject a job applicant: an absolute

or relative lack of qualifications or the absence of a vacancy in the job sought.” Int’l Bhd. of

Teamsters v. United States, 431 U.S. 324, 358 n. 44 (1977); see also Texas Dep’t of Cmty. Affairs




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v. Burdine, 450 U.S. 248, 253–54 (1981) (“The prima facie case serves an important function in

the litigation: it eliminates the most common nondiscriminatory reasons for the plaintiff’s

rejection.”). Thus, where a plaintiff fails to establish a vacancy in the position sought or that he

met the minimum qualifications for that position, his prima facie case fails. See Morgan v. Fed.

Home Loan Mortg. Corp., 328 F.3d 647, 653 (D.C. Cir. 2003) (holding that applicant failed to

make a prima facie case of discrimination or retaliation where one sought-after position was open

only to internal candidates (which the applicant was not) and another sought-after position was

already encumbered); Yarber-Butler v. Billington, 53 F. App’x 120, 120 (D.C. Cir. Dec. 13, 2002)

(“Failure to promote is generally an adverse action, but not if there is no open position. In other

words, if there is no vacancy in the job sought, the plaintiff cannot establish a prima facie case.”)

(internal quotation marks and citation omitted); Hayslett v. Perry, 332 F. Supp. 2d 93, 100 (D.D.C.

2004) (“[P]laintiff cites no evidence that there was an available position to which she could have

been promoted. Lacking evidence of an available position, plaintiff cannot establish a prima facie

case of employment discrimination based on non-promotion.”) (citing Morgan, 328 F.3d at 653);

see also Moore v. Hagel, No. 10-0632, 2013 WL 2289940, at *2 (D.D.C. May 24, 2013) (“Not

being selected for a position for which she did not apply cannot be considered an adverse

employment action [in a retaliation case].”); Stoyanov v. Winter, 643 F. Supp. 2d 4, 13 (D.D.C.

2009) (“[A] plaintiff cannot even establish a prima facie case of discriminatory or retaliatory

failure to promote if he did not apply for the position.”), aff’d, No. 09-5316, 2010 WL 605083

(D.C. Cir. Jan. 26, 2010).

       Relying on these authorities, this Court previously granted summary judgment to

Defendant on Stanazai’s claim that the agency discriminated and retaliated against him by not

selecting him as a managing editor. The Court noted that “where, as here, a plaintiff alleges




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discrimination and retaliation based on failure to hire, his prima facie case fails if he cannot

establish a vacancy in the position sought or that he met the minimum qualifications for that

position.” Stanazai, 2019 WL 1046296, at *6. The Court noted that the reorganization announced

in Ayazi’s October 7, 2016, email “did not create any vacant management positions” and that

Stanazai could not have been assigned to the managing editor positions because they were GS-13

positions and Stanazai was a GS-12 employee. Id.

       Any nonselection claim by Stanazai related to the senior editor assignments should meet

the same fate as his claim about the managing editor positions. As with the managing editors, there

were no new “senior editor” positions created as part of Ayazi’s restructuring of the service and no

competitive selection process took place to fill those assignments. SOF ¶ 12. The four individuals

designated as senior editors in Ayazi’s email retained the same grade and position as they had held

prior to the restructuring. SOF ¶ 13. Further, the four individuals continued to perform the same

duties and functions that they had been responsible for prior to the restructuring. SOF ¶ 14. Before

Ayazi restructured the Service around the Dari and Pashto languages rather than broadcast

medium, the four employees labelled “senior editors” by Ayazi were known as “team leaders” and

were responsible for duties such as assisting with the assignment of tasks, finding news stories for

broadcast, and copy editing. SOF ¶ 14. The four individuals performed those same duties for their

respective language teams following the restructuring. SOF ¶ 14. Thus, there was no open

positions to fill and no selection process associated with the individuals that Ayazi called “senior

editors;” they were simply the same employees in the same position performing the same duties

under a revised structure. Stanazai therefore cannot make out a prima facie case that the BBG

retaliated against him by not selecting him for one of those assignments.




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II.    The agency had legitimate, nonretaliatory reasons for not naming Stanazai a “senior
       editor.”

       The agency’s nonretaliatory reasons for not selecting Stanazai as a “senior editor” largely

overlap with the reasons that Stanazai cannot make out a prima facie claim: he was not selected

because there was no selection associated with those assignments. Stanazai cannot meet his burden

of showing this argument to be pretext. Focus on the third prong of the McDonnell-Douglas

analysis, i.e., the evidence of pretext, is appropriate “only if the parties properly move past the

second step.” Figueroa v. Pompeo, 923 F.3d 1078, 1087 (D.C. Cir. 2019). To do that, “an employer

at the second prong must proffer admissible evidence showing a legitimate, nondiscriminatory,

clear, and reasonably specific explanation for its actions.” Id. at 1092. The D.C. Circuit has laid

out four factors that can be used to determine whether an employer’s proffer is adequate: (1) “the

employer must produce evidence that a factfinder may consider at trial (or a summary judgment

proceeding)”; (2) if the factfinder believes the evidence, it “must reasonably be able to find that

the employer’s action was motivated by a nondiscriminatory reason”; (3) the “nondiscriminatory

explanation must be . . . facially credible in light of the proffered evidence”; and (4) the evidence

must present a “clear and reasonably specific explanation” such that the employee has “a full and

fair opportunity to attack the explanation as pretextual.” Id. at 1087 (citation and quotation marks

omitted). By contrast, “offering a vague reason . . . is the equivalent of offering no reason at all.”

Id. at 1092.

       Defendant easily clears this hurdle. The reason for not selecting Stanazai as a “senior

editor” is specific and straightforward: there was no selection. Ayazi used the term “senior editor”

to refer to employees who would remain in the same position and perform the same duties that

they held prior to his restructuring of the service around language-based teams. SOF ¶¶ 12–14.

The agency has also submitted admissible evidence that, if a fact finder were to believe it, would



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support the proffered reason. A human resources specialist at the BBG, Leslie McKnight, reviewed

the agency’s personnel records and confirmed in a sworn declaration that there were no new

positions and no promotions associated with Ayazi designating the four individuals as “senior

editors” in his October 2016 email. McKnight Decl. ¶ 4. And Ibrahim Nasar, who held senior

positions in the Afghan Service and was familiar with the roles and responsibilities of its staff, has

submitted a declaration stating that the four individuals labelled by Ayazi as “senior editors” served

as “team leaders” prior to the restructuring and continued to perform the same duties and functions

after the restructuring as they had prior to the restructuring. Nasar Decl. ¶ 4.

       If the Defendant meets the step-two threshold, the court “must resolve one central

question,” namely, whether “the employee produced sufficient evidence for a reasonable jury to

find that the employer’s asserted non-discriminatory reason was not the actual reason and that the

employer intentionally discriminated against the employee[.]” Brady v. Off. of Sergeant at Arms,

520 F.3d 490, 494 (D.C. Cir. 2008). In resolving this central question, courts look to, inter alia,

“(1) the plaintiff’s prima facie case; (2) any evidence the plaintiff presents to attack the employer’s

proffered explanation for its actions; and (3) any further evidence of discrimination that may be

available to the plaintiff (such as independent evidence of discriminatory statements or attitudes

on the part of the employer).” Hampton v. Vilsack, 685 F.3d 1096, 1100 (D.C. Cir. 2012) (internal

quotation marks omitted). To survive summary judgment based solely on evidence of pretext, a

plaintiff must demonstrate that a “reasonable jury not only could disbelieve the employer’s

reasons, but also could conclude that the employer acted, at least in part, for a prohibited reason.”

Walker v. Johnson, 798 F.3d 1085, 1096 (D.C. Cir. 2015).

       Stanazai will be unable to meet his burden. He provided no evidence or explanation in

discovery tending to show that anyone at the agency retaliated against him when Ayazi designated




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four individuals other than him to continue to perform their same duties as “senior editors.” In fact,

Stanazai repeatedly indicated in discovery that he did not wish to claim retaliation associated with

the senior editor positions. Stanazai also disclaimed any retaliation in connection with the 2016

senior editor assignments in his responses to Defendant’s interrogatories. One of Defendant’s

interrogatories directed Stanazai to identify each and every position that he did not receive and

that forms the basis for his retaliation claims in this case. Pl.’s Resps. to Def.’s Interrogatories

(Interrogatory No. 1), ECF No. 31-4. Stanazai’s response to that interrogatory does not mention

specifically mention the senior editor assignments from 2016. He lists several specific positions

(none of which are the senior editor assignments described in Ayazi’s restructuring email) as well

as a catchall noting that Stanazai “applied for several management positions that became

available.” Id. The senior editor assignments do not fall within that catchall, however, because

Stanazai did not “apply” for them. SOF ¶ 12. Stanazai also failed to identify any evidence

whatsoever that might show that the BBG’s reasons for not selecting him as a senior editor were

retaliatory. When invited to supply such evidence, Stanzai responded simply: “the purpose of my

non-selection was to retaliation against me for my protected activity. Pl.’s Resps. to Def.’s

Interrogatories (Interrogatory No. 2), ECF No. 31-4. Because Stanazai is unable to proffer any

evidence of retaliation, summary judgment should be awarded to Defendant.



                                          *       *       *




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                                    CONCLUSION

     For the foregoing reasons, the Court should enter summary judgment in favor of Defendant.



Dated: April 21, 2021                         Respectfully submitted,
       Washington, D.C.
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